
PER CURIAM
Frankie Dobbs ("Dobbs") appeals from the motion court's denial of his Rule 24.035 motion seeking post-conviction relief. Dobbs pleaded guilty to a class C felony, pursuant to Section 570.030.3, for stealing a motor vehicle. On appeal, Dobbs argues that, pursuant to State v. Bazell, 497 S.W.3d 263 (Mo. banc 2016), his sentence should have been based on a class A misdemeanor, not a class C felony. Because Bazell does not apply retroactively to Dobbs's plea and sentencing, we affirm the motion court's judgment.
We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum opinion for their information only, setting forth the facts and reasons for this order.
The judgment of the trial court is affirmed in accordance with Rule 84.16(b).
